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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 1:21-cv-20706-GAYLES/TORRES


  MEUDY ALBAN OSIO, et al.,

         Plaintiffs,

  v.

  NICOLAS MADURO MOROS, et al.,


        Defendants.
  ______________________________________/


                                               ORDER

         THIS CAUSE comes before the Court on Chief Magistrate Judge Edwin G. Torres’ Report

  and Recommendation on Plaintiffs’ Motion for Writ of Execution (the “Report”). [ECF No. 110].

  On January 5, 2024, Plaintiffs filed their Motion for a Writ of Execution (the “Motion”). [ECF No.

  94]. Defendants did not file a response to the Motion. On January 5, 2024, the Court referred the

  Motion to Judge Torres for a ruling. [ECF No. 96]. On June 10, 2024, Judge Torres issued his

  Report recommending that the Court grant Plaintiffs’ Motion. [ECF No. 110]. Plaintiffs then filed

  a Limited Objection regarding an apparent clerical error in the stated amount of compensatory

  damages in the Report. [ECF No. 111]. Defendants did not file any objections.

         A district court may accept, reject, or modify a magistrate judge’s report and

  recommendation. 28 U.S.C. § 636(b)(1). Those portions of the report and recommendation to which

  objections are made are accorded de novo review, if those objections “pinpoint the specific findings

  that the party disagrees with.” United States v. Schultz, 565 F.3d 1353, 1360 (11th Cir. 2009); see

  also Fed. R. Civ. P. 72(b)(3). Any portions of the report and recommendation to which no specific
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  objections are made are reviewed only for clear error. Liberty Am. Ins. Grp., Inc. v. WestPoint

  Underwriters, L.L.C., 199 F. Supp. 2d 1271, 1276 (M.D. Fla. 2001); accord Macort v. Prem, Inc.,

  208 F. App’x 781, 784 (11th Cir. 2006).

         The Court has reviewed the record de novo and agrees with Plaintiffs that the correct

  amount of compensatory damages awarded in this action is $216 million. This Court finds no clear

  error with the remainder of Judge Torres’ well-reasoned analysis and agrees that the Motion

  should be granted.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1.     Plaintiffs’ Limited Objection to One Narrow Facet of the Report and

                Recommendation (ECF 110) on Plaintiffs’ Motion for a Writ of Execution, [ECF No.

                111], is SUSTAINED;

         2.     Chief Magistrate Judge Edwin G. Torres’ Report and Recommendation on

                Plaintiffs’ Motion for Writ of Execution, [ECF No. 110], is AFFIRMED AND

                ADOPTED, in full, and incorporated into this Order by reference, with a correction

                on page six of the Report that the amount of compensatory damages is $65 million;

         3.     Plaintiffs’ Motion for a Writ of Execution, [ECF No. 94], is GRANTED; and

         4.     The Clerk shall issue a writ of execution upon the Learjet 45 (Tail Number

                YV2739) in accordance with Plaintiffs’ proposed writ of execution, [ECF No. 94-

                2].

         DONE AND ORDERED in Chambers at Miami, Florida, this 1st day of July, 2024.


                                              ________________________________
                                              DARRIN P. GAYLES
                                              UNITED STATES DISTRICT JUDGE




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